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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF VIRGINIA
                                    Harrisonburg


  RLI INSURANCE COMPANY,                )
                                        )
              Plaintiff,                )
                                        )
              v.                        )               C.A. No. 5:18cv00066-MFU-JCH
                                        )
  NEXUS SERVICES, INC.,                 )
  LIBRE BY NEXUS, INC.,                 )
  HOMES BY NEXUS, INC.,                 )
                                        )
              Defendants.               )
  _____________________________________ )



                     RLI’S RESPONSE TO SPECIAL MASTER’S REPORT
         RLI Insurance agrees with the recommendation of the Special Master that the

  appointment of a receiver is necessary to facilitate the post-judgment information and collection

  efforts of RLI due to the ongoing noncompliance of Nexus. RLI further states that it does not

  challenge any of the conclusions of fact or law in the Special Master’s Report and hereby

  incorporates by reference the arguments it raised in its position paper, which is attached as

  Exhibit 3 to the Special Master’s Report. Dkt. No 891-3. RLI appreciates the efforts of the

  Special Master to attempt to obtain the Court-ordered documents and information and agrees

  with the Special Master’s assessment that further involvement by the Special Master would be

  futile given Nexus’ conduct to date. Accordingly, RLI respectfully requests that a receiver be

  appointed for the Nexus Defendants consistent with the prior proposed Order submitted by RLI

  in June of 2023. See Dkt. No. 852. In addition to that already set out in its proposed Order, RLI

  further asks that any receiver Order specifically grant the receiver access to all communications,

  documents, and any other materials or information between the Nexus Defendants and
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  Subversivo LLC such that the receiver has sufficient information to report on the relationship

  between the Nexus Defendants and Subversivo and can advise the Court and RLI about any and

  all financial transactions and conduct engaged in by Subersivo on behalf of or related to the

  Nexus Defendants.

         Dated: March 25, 2024


                                               RLI INSURANCE COMPANY

                                                 /s/

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